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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NORTH DAKOTA

 State of Kansas et al.,

                                       Plaintiffs,

 vs.                                                                     Case No. 1:24-cv-00150

 United States of America et al.,

                                    Defendants.



                      ORDER FOR SUPPLEMENTAL INFORMATION



[¶ 1]    THIS MATTER comes before the Court upon a Motion for Preliminary Injunction and

Motion for Stay filed by the Plaintiffs on August 30, 2024. Doc. Nos. 35, 63. The United States of

America and the Centers for Medicare & Medicaid Services (“Defendants”) filed a Response on

September 25, 2024. Doc. No. 61. Plaintiffs filed their Reply on October 9, 2024. Doc. No. 81. A

hearing on the motion was held on October 15, 2024. Doc. No. 84.

[¶ 2]    At the hearing, the parties discussed providing the Court with additional information

pertaining to the potential expansion of the Deferred Action for Childhood Arrivals (“DACA”)

program from a final rule promulgated by the Centers for Medicare & Medicaid Services (“CMS”).

See 89 Fed. Reg. 39392 (“Final Rule”). As a result, the Court ORDERS:

            1. The Defendants shall provide the names and addresses of the 130 DACA recipients

                in the State of North Dakota only. This information is to be provided under seal and

                used only for the purposes of establishing venue. Specifically, North Dakota is to

                use this information to quantify its costs under the Final Rule. This information




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              must be provided to the Attorney General of North Dakota, Drew Wrigley, no later

              than October 29, 2024, at 5:00 p.m. central time.

           2. North Dakota shall then provide the data and information relating to its direct and

              indirect costs to the Court by no later than November 12, 2024, at 5:00 p.m. central

              time.

[¶ 3]   IT IS SO ORDERED.

        DATED October 15, 2024.




                                                    Daniel M. Traynor, District Judge
                                                    United States District Court




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